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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND
                          (Northern Division)

EVELYN MATHEU DE ACOSTA                       :
4715 Deer Park Road
Owings Mills, MD 21117                        :

       Plaintiff                              :

v.                                            :      Case No.

REINSFELDER, INC.                             :
108 Plunkett Road
Zelienople, PA 16063                          :

and                                           :

CHARLES MENSINGER                             :
463 Hokendauqua Drive
Bath, PA 18014                                :

       Defendants                             :

     NOTICE OF REMOVAL ON BEHALF OF DEFENDANTS REINSFELDER, INC.
                      AND CHARLES MENSINGER

       The Defendants, Reinsfelder, Inc. and Charles Mensinger, by their attorneys, Bacon,

Thornton & Palmer, LLP, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, file this Notice of

Removal of this action from the Circuit Court for Baltimore County, Maryland, in which it is now

pending, to the United States District Court for the District of Maryland, on the following grounds:

       1.      On or about December 27, 2021, Plaintiff filed an action in the Circuit Court for

Baltimore County, Maryland, Case No. C-03-CV-21-004269, against Defendants Reinsfelder, Inc.

and Charles Mensinger.

       2.      As of the date of this filing, neither Defendant has been served with process with a

summons issued by the Circuit Court for Baltimore County, however undersigned counsel has

advised counsel for Plaintiff on January 20, 2022 of authority to accept service on behalf of the
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Defendants. In accordance with 28 U.S.C. § 1446(a), copies of the Complaint and the email

correspondence accepting service are attached hereto as Exhibits A and B, respectively.

        3.      This Notice of Removal to this Court is filed within thirty (30) days after the

acceptance of service of process of the Complaint, and is therefore timely pursuant to 28 U.S.C. §

1446(b).

        4.      Pursuant to the Complaint, Plaintiff, Evelyn Matheu De Acosta is an individual

residing in Owings Mills, Baltimore County, Maryland and, pursuant to 28 U.S.C. § 1332(c)(1),

is a citizen of the State of Maryland for diversity of citizenship jurisdiction.

        5.      Defendant Reinsfelder, Inc. is a Pennsylvania corporation with its principal place

of business located at 108 Plunkett Road, Zelienople, Pennsylvania 16063 and, pursuant to 28

U.S.C. § 1332(c)(1), is a citizen of the State of Pennsylvania for purposes of diversity of citizenship

jurisdiction.

        6.      Defendant Charles Mensinger resides at 463 Hokendauqua Drive, Bath,

Pennsylvania 18014 and, pursuant to 28 U.S.C. § 1332(c)(1), is a citizen of the State of

Pennsylvania for purposes of diversity of citizenship jurisdiction.

        7.      This action is a civil action which falls under this Court’s original jurisdiction

pursuant to 28 U.S.C. § 1332 (diversity of citizenship), and is one which may be removed to this

Court by Defendants Reinsfelder, Inc. and Charles Mensinger pursuant to 28 U.S.C. § 1441

because this Court has original jurisdiction of this case under 28 U.S.C. § 1332(a).

        8.      Plaintiff is a citizen of the State of Maryland and the Defendants are citizens of the

State of Pennsylvania and, therefore, complete diversity exits between Plaintiff and Defendants.

        9.      Plaintiff’s Complaint seeks damages in an amount that exceeds $75,000.00.




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        10.     Pursuant to 28 U.S.C. §§ 1332(a), 1441(a) and 1446(a), this Court has original

jurisdiction over this action because the amount controversy exceeds $75,000.00 and because this

action is between citizens of different states.

        11.     Venue is proper because this district embraces the jurisdiction in which Plaintiff

initiated her lawsuit.

        12.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being filed

contemporaneously with the Clerk of the Circuit Court for Baltimore County, Maryland, and

served to counsel for Plaintiff. A copy of the Notice of Filing of Notice of Removal to the Clerk

of the Circuit Court for Baltimore County, Maryland is attached hereto as Exhibit C.

        13.     No admission of fact, law or liability is intended by the filing of this Notice of

Removal, and all defenses, affirmative defenses and motions are hereby reserved to Defendants

Reinsfelder, Inc. and Charles Mensinger.

        WHEREFORE, the Defendants, Reinsfelder, Inc. and Charles Mensinger, hereby remove

the above-captioned matter which is now pending in the Circuit Court for Baltimore County,

Maryland to this Court.



                                                  BACON, THORNTON & PALMER, L.L.P.


                                                  /s/ Edward C. Bacon
                                                  Edward C. Bacon, # 01256
                                                  Capital Office Park
                                                  6411 Ivy Lane, Suite 500
                                                  Greenbelt, MD 20770
                                                  301-345-7001
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                                                  ebacon@lawbtp.com
                                                  (Attorney for Defendants Reinsfelder, Inc. and
                                                  Charles Mensinger)




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 9th day of February, 2022, a copy of the foregoing Notice
of Removal on Behalf of Defendants Reinsfelder, Inc. and Charles Mensinger, was electronically
served upon and mailed, first class, postage prepaid, to:

Salvatore J. Zambri, Esq.
Emily C. Lagan, Esq.
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(Attorneys for Plaintiff)


                                           /s/ Edward C. Bacon
                                           Edward C. Bacon




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